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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

    In re:
                                                             Case No.: 3:16-bk-02230-PMG
    RMS TITANIC, INC., et al.,
                                                             Chapter 11
          Debtors. 1
    ________________________________/                        (Jointly Administered)

                    NOTICE OF FILING REVISED LIQUIDATION ANALYSIS

             The Official Committee of Equity Security Holders of Premier Exhibitions, Inc., Chapter

11 Debtor in Case No. 3:16-bk-02232-PMG, by and through its undersigned counsel, hereby gives

notice of filing the attached revised Liquidation Analysis to reflect the changes noted in the Notice

of Errata (Doc. 1194).


     Dated: September 4, 2018                     By: /s/ Peter J. Gurfein
                                                  Peter J. Gurfein
                                                  LANDAU GOTTFRIED & BERGER LLP
                                                  1801 Century Park East, Suite 700
                                                  Los Angeles, California 90067
                                                  (310) 557-0050
                                                  (310) 557-0056 (Facsimile)
                                                  pgurfein@lgbfirm.com

                                                  -and-

                                                  AKERMAN LLP

                                                  By: /s/ Jacob A. Brown
                                                  Jacob A. Brown
                                                  Florida Bar No. 170038
                                                  50 North Laura Street, Suite 3100


1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


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                                                Jacksonville, Florida 32202
                                                (904) 798-3700
                                                (904) 798-3730 (Facsimile)
                                                Jacob.brown@akerman.com

                                                Attorneys for the Official Committee of Equity
                                                Security Holders of Premier Exhibitions, Inc.




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 4, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on September 4, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                 Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                        c/o Ezra B. Jones
70 W. 40th Street                      305 Crosstree Lane
New York, NY 10018                     Atlanta, GA 30328
Creditor Committee                     Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
SCENARIO:                               Case 3:16-bk-02230-PMG
                                                             DRAFTDoc   1195
                                                                  - SUBJECT      Filed 09/04/18
                                                                            TO CHANGE                                                      Page 6 of 7STRICTLY PRIVATE AND CONFIDENTIAL
ARTIFACTS SOLD IN TWO PROPOSED TRANSACTIONS                                                PRELIMINARY ANALYSIS
                                                                                     FOR ILLUSTRATIVE PURPOSES ONLY

Liquidation Analysis for Premier Exhibitions, Inc.
Net Book Values as of July 31, 2018                                                                                                  Estimated Recovery (Value)
Prepared at the Direction of Counsel on September 4, 2018                     Note         Estimated                Low                       Midpoint                 High
                                                                           References      Book Value           $             %              $             %       $             %
Assets
Current
Cash and Equivalents                                                                         $1,749,964         $1,749,964    100%           $1,749,964    100%    $1,749,964    100%
Cash Held in Trust / Deposit                                                    1               736,056                  0      0%                    0      0%             0      0%
Accounts Receivable                                                             2             1,821,003          1,092,602     60%            1,274,702     70%     1,456,802     80%
Inventory and Work-in-Progress                                                                  598,869            149,717     25%              209,604     35%       269,491     45%
Prepaid Expenses and Deposits                                                                   417,699             41,770     10%               83,540     20%       125,310     30%
Income Tax Receivable (installments)                                                            119,624                  0      0%                    0      0%             0      0%
Due from Related Parties                                                                         12,306                  0      0%                    0      0%             0      0%
Intercompany - Premier & DinoKing Tech                                                                0                  0      0%                    0      0%             0      0%
                                                                                             $5,455,521         $3,034,053     56%           $3,317,810     61%    $3,601,567     66%
Other Assets
Lease Investments, net of current deferred income                                            $1,084,740                 $0      0%                   $0      0%            $0      0%
Property and Equipment, net                                                                   2,997,067            449,560     15%              749,267     25%     1,048,973     35%
Film Intellectual Property, net                                                 3                32,197             50,000    155%              100,000    311%       150,000    466%
Deferred Income Taxes                                                                           520,071                  0      0%                    0      0%             0      0%
Trademarks and Other Intangibles                                                                 35,800             10,740     30%               14,320     40%        17,900     50%
Cost of Salvage                                                                 4               251,000                  0      0%                    0      0%             0      0%
Cost of Artifacts                                                               4             2,826,020                  0      0%                    0      0%             0      0%
Total Balance Sheet Assets (Current and Other)                                              $13,202,416         $3,544,353     27%           $4,181,397     32%    $4,818,441     36%

Select French Artifacts Auction
Select French Artifacts (Estimate, via Auction)                                 5                              $40,000,000                 $50,000,000            $60,000,000
 Less: Costs to Prepare and Assemble                                            5                               (4,000,000)                 (3,000,000)            (2,000,000)
 Less: Incremental Legal Fees (e.g. Contested Right to Sell)                    5                               (1,000,000)                   (750,000)              (500,000)
 Less: Auction House Fees                                                       5                               (4,000,000)   10%           (5,000,000)    10%     (6,000,000)   10%
Net Recovery from Select French Artifacts                                                                      $31,000,000                 $41,250,000            $51,500,000

American Artifacts & French Artifacts (Sale to Qualified Institution)
American & French Artifacts (excluding Select French Artifacts)                 6                               $5,000,000                 $12,100,000            $19,200,000

Chapter 5 / D&O Claim Recovery
  Estimated Recoverable Value of Chapter 5 Claims                                                                       $0                           $0                    $0
  Estimated Recoverable Value of D&O Claims (Net of Legal Fees / Expenses)                                       2,000,000                    3,000,000             4,000,000
Total Chapter 5 / D&O Claim Recoveries                                                                          $2,000,000                   $3,000,000            $4,000,000

Total Recoverable Assets / Estate Proceeds                                                                     $41,544,353                 $60,531,397            $79,518,441

Less: CRO Fees & Liquidation Trustee Fees                                       7                               (1,246,331)    3%            (1,815,942)    3%     (2,385,553)    3%

Total Distribution Value                                                                                       $40,298,022                 $58,715,455            $77,132,887

Outstanding Professional Fees / Other Administrative Claims
 Outstanding Professional Fees                                                  8                               $3,413,000                   $3,188,000            $2,963,000
 Transaction / Success Fees (GlassRatner)                                       8                                 $460,000                     $692,000              $924,000
 KERP Payments                                                                  9                                   82,803                       82,803                82,803
 Post-Petition Trade Payables                                                   10                                 541,704                      541,704               541,704
 Claims Arising from Rejected Leases and Contracts, etc.                        11                               4,000,000                    3,200,000             2,400,000
 Total Administrative Claims                                                                                    $8,497,507                   $7,704,507            $6,911,507

Exit Facility / Superpriority DIP Loan
  DIP Obligations Rolled into Exit Facility                                     12                              $5,373,167                   $5,373,167            $5,373,167
  Incremental Funding Needs (Estimate, Includes Fees)                           13                               1,000,000                      750,000               500,000
  Incremental Interest Obligations (Exit Facility, 6 to 12 months)              13                                 892,243                      642,933               411,122
  Total Exit Facility Obligations                                                                               $7,265,410                   $6,766,099            $6,284,288

Pre-Petition Secured Loan
  Principal & Interest                                                          14                              $3,800,000                   $3,800,000            $3,800,000

Total Admin, DIP/Liquidity, and Secured Claims                                                                 $19,562,917                 $18,270,606            $16,995,795

Proceeds Available after Admin, DIP/Liquidity, and Secured Claims                                              $20,735,106                 $40,444,849            $60,137,092

General Unsecured Claims
 Pre-Petition Unsecured Claims & Accrued Settlements                            15                             $11,235,105                 $10,735,105            $10,235,105
 Post-Petition Interest on Pre-Petition Claims (Excl. Settled Claims)           16                                 188,655                     172,207                155,760
 Claims Arising from Rejected Leases and Contracts, etc.                        11                               1,000,000                     800,000                600,000
 Total General Unsecured Claims                                                                                $12,423,760                 $11,707,313            $10,990,865

  Post-Confirmation Interest on Pre-Petition Claims (6 to 12 months)            17                              $1,242,376                     $878,048              $549,543
  Premium on Principal of Pre-Petition Unsecured Claims                         17                               2,484,752    20%             2,341,463    20%      2,198,173    20%
  Total Interest and Premium on General Unsecured Claims                                                        $3,727,128                   $3,219,511            $2,747,716

Total Unsecured Claims                                                                                         $16,150,888                 $14,926,824            $13,738,582

Proceeds Available to Equity Security Holders                                   18                              $4,584,218                 $25,518,026            $46,398,511

Implied Distributable Value Per Share                    Shares Outstanding of 9,373,116                             $0.49                       $2.72                  $4.95




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                                                                           TO CHANGE                                                                         Page 7 of 7STRICTLY PRIVATE AND CONFIDENTIAL
ARTIFACTS SOLD IN TWO PROPOSED TRANSACTIONS                                              PRELIMINARY ANALYSIS
                                                                                   FOR ILLUSTRATIVE PURPOSES ONLY


Notes:
 1. The Company is required to make quarterly payments of $25,000 into a Trust designated to fund the "conserving and curating" of the artifacts. The payments are to continue until the endowment reaches $5
    million. Under the liquidation analysis, these obligations and current balance of the Trust are assumed to accompany the American Artifacts.
 2. In recent periods, approximately 75% of the Company's accounts receivables are current or within 30 days over due, and roughly 20% over 90 days past due.
 3. The RMS Titanic Intellectual Property from the expeditions is extensive. There have been 8 dives from 1987 to 2010 where over 1,570 hours of 3D and 2D video footage and over 500,000 digital, raw and
    acoustic images have been recorded. The value of this media collection is likely above the net book value of $32k. Conservative estimates have been made for this implied value.

 4. Under the Liquidation Analysis, the Company is assumed to sell the Artifact Collection accompanied by the salvor-in-possession rights. Whether or not the salvage rights are sold together with the American
    collection, the Debtors would no longer hold the salvage rights and would not be obligated to protect those rights. Recovery on the Artifacts Collection is treated separately in the Liquidation Analysis.


 5. Guernsey's auction house has provided a preliminary estimate of between $50mm and $70mm for the potential value of the Select French Artifacts. Guernsey's fees are calculated based upon a
    commission of 9% of the gross value obtained at auction. For conservatism, the analysis assumes a range between $40mm and $60mm for the Select French Artifacts and 10% Auction House Fees. We
    have conservatively estimated the costs to assemble and safely transport all the artifacts from their current potentially dispersed locations at $2mm to $4mm. Additional legal fees are also incorporated in
    the event that the right to sell certain French Artifacts is challenged.

 6. To date, at least two bids for the artifact collection have been received. One at $5.0mm and another at $19.2mm. This analysis assumes these bids are an illustrative low and, correspondingly, high estimate
    for the sale value of the American Artifacts and substantially all of the French Artifacts, excluding the Select French Artifacts, to a qualified institution.
 7. CRO and Trustee fees include those fees associated with the appointment of a CRO and Liquidation Trustee. CRO and Trustee fees are estimated based upon anticipated scope of services and experience
    in other similar cases and are calculated at 3.0% of the Debtors' total recoverable assets / Estate proceeds.
 8. Accrued and unpaid professional fees as of July 31, 2018 were estimated at $1.76mm based on documents filed by the Debtors. This analysis assumes 3 additional months at the Debtors' estimate of
    $250k per month, as well as 6 to 12 months of professional fees at an estimated $75,000 per month. Transaction / Success Fees calculated based on filed engagement letters.
 9. The Debtors provided an estimate for expected payments under the KERP, totaling $82,803.
10. The Debtors provided an estimate for post-petition trade claims, net of accrued professional fees and accrued interest, totaling $541,704.
11. The liquidation analysis assumes certain leases and contracts will be rejected and that the Debtors' cease certain operations. The analysis assumes an estimated $3mm to $5mm in potential unidentifiable
    claims including potential damage claims arising from rejected leases and contracts of the Debtors. The analysis assumes 80% of the claims arising from contracts entered into post-petition, therefore
    having administrative claim status, and 20% arising from contracts or leases entered into pre-petition, as general unsecured claims.
12. The Exit Facility includes a full roll up of the existing Debtor-in-Possession loan obligations assumed to be $5,373,167, including the Debtors' estimate of $5.15mm balance for June 30, 2018 plus straight
    interest at 13% (per the DIP agreement) for 4 months through the Effective Date.
13. The analysis assumes incremental funding needs of $500K to $1.0mm, including Exit Facility fees, and 6 to 12 months straight interest on the total outstanding balance at a 14% rate of interest per the Exit
    Facility Term Sheet.
14. There is $3.0mm in prepetition promissory notes secured by substantially all the Debtors assets. The liquidation analysis assumes $800k of accrued interest and fees in addition to the outstanding principal.


15. The Debtors have provided an estimate of approximately $10.7mm in allowed prepetition general unsecured claims and accrued settlements. We used an estimate range of $10.2mm to $11.2mm.

16. The analysis assumes post-petition interest at the average federal judgement rate of 1.359%, compounded daily, for the period from June 14, 2016 through October 31, 2018. Pre-petition general
    unsecured claims for purposes of calculating post-petition interest excludes claim settlements.
17. The analysis assumes Allowed General Unsecured Claims are paid an additional 6 to 12 months straight interest post-confirmation on the principal at a 10% rate of interest, as well as a 20% premium on
    the principal allowed claim amount. Interest will stop accruing on Allowed General Unsecured Claims as soon as proceeds from the French Artifact auction are received, which could be less than 6 months
    after confirmation.
18. Proceeds available to Equity Security Holders and Implied Distributable Value Per Share shown is before Lincoln/Teneo fee.




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